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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

  MSR MEDIA SKN LTD., et al.

                   Plaintiffs,
                                           Case No: 8:24-cv-1248-KKM-AAS

  LESLIE KHAN, et al.,

                   Defendants.

                  NOTICE OF VOLUNTARY DISMISSAL
                  PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i) and

  41(a)(1)(B), Plaintiffs MSR Media SKN Ltd., MSR Hotels & Co. Ltd., MSR

  Media International LLC, and Philippe Martinez hereby give notice that the

  above captioned action is voluntary dismissed without prejudice. None of the

  Defendants has filed an answer or motion for summary judgment.

                                        Respectfully submitted,
  Date: December 12, 2024               /s/ Lisandra Ortiz
                                        Lisandra Ortiz (Bar No. 112108)
                                           Lead Counsel
                                        Laura Ferguson (pro hac vice)
                                        William P. Barry (pro hac vice)
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                                        Counsel for Plaintiffs
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                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 12, 2024, I electronically filed

  the foregoing with the Clerk of court using CM/ECF system.


                                    /s/ Lisandra Ortiz
                                    Lisandra Ortiz (Bar No. 112108)
                                       Lead Counsel




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